                         Case 18-19441-EPK     Doc 357     Filed 12/03/18     Page 1 of 1
Form CGFCRD3 (12/1/15)

                                United States Bankruptcy Court
                                        Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                    Case Number: 18−19441−EPK
                                                                                    Chapter: 11

In re:
160 Royal Palm, LLC
1118 Waterway Lane
Delray Beach, FL 33483

EIN: 27−0925854




                                       RENOTICE OF HEARING
                                Due To Court Closure for National Day of Mourning



NOTICE IS HEREBY GIVEN that a hearing will be held on December 12, 2018 at 01:30 PM, at the
following location:

Flagler Waterview Building, 1515 N Flagler Dr Room 801 Courtroom B, West Palm Beach, FL 33401

to consider the following:

Motion for Extension of Time to Object or Otherwise Respond to Subpoena Motion to Extend Time
to December 19, 2018 Filed by Creditor Other Palm House Investors. (310)

Motion for Extension of Time to Object or Otherwise Respond to Subpoena Motion to Extend Time
to December 19, 2018 Filed by Creditor Other Palm House Investors. (311)


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 12/3/18                                          CLERK OF COURT
                                                        By: Dawn Leonard
                                                        Courtroom Deputy
